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                                   4                                  UNITED STATES DISTRICT COURT

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                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                   8   EASTON STOKES,
                                   9                 Plaintiff,                            No. C 19-04613 WHA

                                  10          v.

                                  11   UNITED STATES DEPARTMENT OF                         ORDER LIFTING STAY OF RELIEF
                                       JUSTICE, THE ATTORNEY GENERAL
                                  12   OF CALIFORNIA, et al.,
Northern District of California
 United States District Court




                                  13                 Defendants.

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                                            On July 30, final judgment entered in favor of plaintiff against defendants. Relief was
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                                       stayed pending resolution of all appeals. The deadline to file a notice of appeal was September
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                                       28. Fed. R. App. P. 4(a)(1)(B).
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                                            On October 1, an order to show cause why the stay of relief should not be lifted issued.
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                                            Defendants have both filed responses stating they do not object to the stay of relief being
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                                       lifted (Dkt. Nos. 118, 119).
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                                            Therefore, the STAY OF RELIEF IS LIFTED. Plaintiff’s right to possess firearms may not
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                                       be denied by reason of the Section 5250 certification.
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                                            IT IS SO ORDERED.
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                                       Dated: October 8, 2021
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                                  27                                                            WILLIAM ALSUP
                                                                                                UNITED STATES DISTRICT JUDGE
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